 Case 8:16-cv-00245-CJC-DFM Document 29 Filed 11/16/16 Page 1 of 1 Page ID #:111




 1
 2
 3                                                                                                   JS-6
 4
 5
 6
 7
 8                                                       UNITED STATES DISTRICT COURT
 9                                                     CENTRAL DISTRICT OF CALIFORNIA
10                                                                 SOUTHERN DIVISION
11
12
     VERNON STRATTON,                                                          Case No. 8:16-cv-00245-CJC-DFM

13                                                  Plaintiff,                ORDER GRANTING JOINT
14                                                                            STIPULATION TO DISMISS CMRE
     vs.                                                                      FINANCIAL SERVICES, INC. WITH
15                                                                            PREJUDICE PURSUANT TO FRCP
16 CMRE FINANCIAL SERVICES,                                                   41(a)(1)(A)(ii)
     INC.,
17
18                                                  Defendant.
19
20                 Having considered the parties’ Joint Stipulation for Dismissal, the above-entitled
21 action is hereby dismissed with prejudice, with respect to Defendant CMRE
22 FINANCIAL SERVICES, INC.
23                   Each party shall bear its own costs and expenses.
24
25 DATED: November 16, 2016
                                                                          Honorable Cormac J. Carney
26                                                                        UNITED STATES DISTRICT JUDGE
27
28
     {Stratton - [Proposed] Order re Dismissal;1}                                 1
                                                                                                      ORDER GRANTING JOINT STIPULATION
                                                      TO DISMISS
                                                                    CASE NO. 8:16-cv-00245-CJC-DFM
